         Case 3:18-cv-04865-EMC Document 624 Filed 01/13/23 Page 1 of 3




                                 OFFICE OF THE CLERK
                         UNITED STATES DISTRICT COURT
                               Northern District of California
                                         CIVIL MINUTES
 Date: January 13, 2023              Time: 8:52- 3:11                   Judge: EDWARD M. CHEN
                                           (Break 12:33-1:40)
                                           6 hour, 19 minutes

 Case No.: 18-cv-04865-EMC           Case Name: In re Tesla Inc. Securities Litigation

Attorneys for Plaintiffs: Nicholas Porritt, Adam Apton, Elizabeth Tripodi, Alexander Krot

Attorneys for Defendants: Alexander Spiro, Michael Lifrak, Ellyde Thompson, Alex Bergjans, Kyle
Batter, William Price, Andrew Rossman, Phillip Jobe

 Deputy Clerk: Vicky Ayala                                Court Reporter: Belle Ball

                                          PROCEEDINGS
Motion to Transfer Case and Status Conference - held
                                            SUMMARY
Parties stated appearances.
The Court disclosed that it had two new externs who planned to work at Quinn Emanuel
Urquhart & Sullivan, counsel for Defendants, upon graduation. The Court explained that these
externs had been walled off from the case: they did not participate in any discussions that the
Court had with its law clerks regarding the case, and they will not have any role in the case
during their externship.
The Court next heard argument regarding Defendants’ motion to transfer venue. See Docket No.
537. The Court expressed its initial view that it disagreed with Defendants’ characterization of
the jury questionnaire responses. Although Defendants had asserted that there were 116
potential jurors who held negative views of Mr. Musk, in the Court’s assessment, the jury
questionnaire responses were more nuanced: 27 were solely positive, 38 were neutral, 49 were
mixed, and 76 were negative. And of the 61 potential jurors who had indicated that they were
available during the trial dates in question, the Court found that there were approximately 40 of
them who indicated that they could be fair and impartial jurors. In light of the number of
individuals who indicated that they were available and that they could be fair, the Court
explained that it did not see any reason why venue needed to be transferred. Defense counsel
then expressed his view that the media articles published regarding Mr. Musk over the last year
were character assassinations which had tainted the pool of jurors. The Court responded that the
Northern District of California had over five million people, and that the diversity of views
shown in the questionnaire responses—including the positive responses regarding Mr. Musk—
spoke to the diversity of views of the people in the District and undercut Defendants’ theory of
         Case 3:18-cv-04865-EMC Document 624 Filed 01/13/23 Page 2 of 3




bias. After assessing the nature and quantity and quality of the press reports, and the jury
questionnaire responses, the Court found that Defendants had not shown that transfer or a
continuance was warranted, and therefore DENIED Defendants’ motion to transfer venue.
Next, the parties and the Court discussed the 190 jury questionnaire responses which had been
timely received. The Court expressed its view that in light of the number of individuals who
indicated that they would be able to serve without scheduling issues and the number of
individuals who said that they either did not have a view of the defendants or that their opinion
of the defendants would not interfere with their ability to be fair and impartial, it was not
necessary to bring in all of the 200 potential jurors who had received summonses. The parties
agreed to bring in a pool of approximately fifty potential jurors for voir dire. The parties and the
Court then reviewed the questionnaire responses, beginning with the jurors who had indicated
that they were available during the dates in question, and then moving to the jurors who had a
conflict with the relevant dates. The Court excluded all those prospective jurors who indicated
on the questionnaire that they could not serve as fair and impartial jurors in this case.
After reviewing the jury questionnaires with the parties, the Court asked whether the parties
would consent to excusing those individuals who had indicated that they were not vaccinated or
declined to state their vaccination status. The Court noted that there were three individuals who
were appropriate for voir dire who had indicated that they were either not vaccinated or declined
to state their status. Of these three individuals, one of whom was Caucasian, one of whom was
multiracial, and one of whom was African-American, two of them had no opinion one way the
other about Defendants, and the third said that Mr. Musk was a little different with really great
ideas. The Court noted that in its experience, jurors were reassured by the Court’s representation
that all fellow jurors had been vaccinated and that without that assurance, many prospective
jurors have stated they were not comfortable serving. Counsel for Defendants indicated that they
were willing to excuse the two individuals who were unvaccinated but wanted to keep the third
individual (who had declined to state their vaccination status). Counsel for Plaintiff informed the
Court that they would move to exclude all three individuals.
After hearing from the parties, the Court imposed a vaccination requirement over the objection
of the defense. The Court explained that the reason why it was imposing the vaccination
requirement was for public health concerns and because, in the Court’s experience, it was
advisable in terms of jury comfort and willingness to serve. First, the Court found that there was
no constitutional violation because there was no substantial impact in terms of excluding any
cognizable group. Jurors with views as to Mr. Musk did not create a constitutional issue because
such personal views and philosophies were not a cognizable distinctive group within the cross-
section requirement of the Sixth Amendment. Second, the Court also found that any impact
from excluding these three individuals was minimal given that the Court and the parties had
selected over fifty other facially qualified individuals who would be subject to live voir dire.
The parties and the Court then discussed how best to conduct voir dire. The Court explained that
it would first ask hardship questions of the entire pool. The parties then proposed to create two
groups for purposes of asking attitudinal questions; individuals who had expressed strong views
of Mr. Musk would be examined separately so as to avoid tainting the jury pool. The parties
agreed to meet and confer regarding which individuals would be voir dired separately and to
report to the Court prior to jury selection next week.
         Case 3:18-cv-04865-EMC Document 624 Filed 01/13/23 Page 3 of 3




Next, the Court raised the motion to quash the trial subpoenas directed to officials of the Public
Investment Fund of the Kingdom of Saudi Arabia, which had been filed the day before. See
Docket No. 562. Counsel for Defendants explained that they would not be pursuing the
subpoenas, which mooted the issue.
The Court then heard argument on the parties’ objections to the Court’s proposed jury
instructions. See Docket Nos. 548, 549. Defendants asserted that Plaintiff had exclusively
pleaded corporate scienter through Mr. Musk and had not alleged any alternate theory of liability
for Tesla’s scienter. The Court ordered Plaintiff to file a highlighted version of the complaint or
interrogatory response whereby he pleaded or disclosed this alternate theory of liability by
5:00pm that evening. The Court then heard argument on Defendants’ objections to the Court’s
proposed instruction regarding the good-faith defense. Following the conclusion of these
arguments, the Court indicated that it would issue its final jury instructions shortly.
The Court then heard argument regarding Defendants’ request for leave to file another Daubert
motion concerning Professor Heston’s methodology for calculating option damages and
Professor Hartzmark’s implementation of it. See Docket No. 546. Following the conclusion of
the parties’ arguments, the Court DENIED Defendants’ request for leave to file another Daubert
motion. The Court ruled that the issues that Defendants raised may be explored during cross-
examination at trial and go to the weight to be given to each expert’s testimony; Defendants had
not shown that a renewed Daubert motion was warranted.
The Court instructed the parties to meet and confer regarding Defendants’ objections to
Plaintiff’s opening statement.
